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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

IN RE:         THOMAS BAKER,                         :       Chapter 13
                                                     :
                                      Debtor         :       Bky. No. 20-14550 ELF

                        ORDER TO                SHOW CAUSE

      AND NOW, the Debtor’s having filed a Motion for Second Extension of Time to File
Schedules and Statement of Financial Affairs in this chapter 13 bankruptcy case;

       AND, the court having entered an Order (“the Extension Order”) GRANTING the
Motion CONDITIONED on the following: the WAIVER of the Debtor’s right to object to a
proof of claim on the ground that it was filed after the deadline set by Fed. R. Bankr. P. 3002(c),
PROVIDED that the proof of claim is filed on or before February 23, 2021;

        AND, further, the court having ordered the Debtor to serve a copy of the Extension Order
on all creditors and parties in interest within three (3) business days of the docketing and
service of the notice of the meeting of creditors (“the §341 Notice”) and to promptly
thereafter file a Certification of Service;

       AND, the §341 Notice having been served on creditors on January 11, 2021;

        AND,the Debtor’s counsel having failed to file a Certification of Service as required by
the Extension Order. it therefore being unknown whether Debtor served the Extension Order on
all creditors and parties in interest,;


       It is therefore ORDERED that a hearing is SCHEDULED on February 2, 2021, at

1:00 p.m., in Bankruptcy Courtroom No. 1, 2d floor, U.S. Courthouse, 900 Market Street,

Philadelphia, PA , at which time the Debtor may SHOW CAUSE why this case should not be

DISMISSED for cause pursuant to 11 U.S.C. §1307(c).




Date: January 21, 2021
                                               ERIC L. FRANK
                                               U.S. BANKRUPTCY JUDGE
